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 6   Attorneys for Plaintiff
     JOHN DOE
 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   JOHN DOE,                                                   Case No. 2:23-cv-00180-AC

12                   Plaintiff,                                  STIPULATION AND [PROPOSED]
             v.                                                  ORDER PERMITTING PLAINTIFF
13                                                               TO FILE FIRST AMENDED
14   COUNTY OF SOLANO, et al.,                                   COMPLAINT

15                          Defendants.
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19           Pursuant to Federal Rules of Civil Procedure 16(b)(4) and 15(a)(2), and the Court’s November
20   7, 2023 order (Dkt. No. 21), plaintiff John Doe (“Plaintiff”) and defendants County of Solano
21   (“County”), Armando Espinoza and Stephanie Bachman (erroneously sued as Stephanie M. Garcia)
22   (collectively, “Original Defendants”) (all parties, collectively, the “Parties”) stipulate as follows:
23       1. Plaintiff filed his complaint against the Original Defendants on December 28, 2022 in the
24   Superior Court of the State of California, County of Solano. Dkt. No. 1, Ex. A. The complaint
25   included doe defendants.
26       2. Defendants removed the action to this Court on January 30, 2023. Dkt. No. 1.
27       3. The Court entered a scheduling order on June 23, 2023, which set August 31, 2023 as the
28   deadline to join additional parties. Dkt. No. 15, p. 1:22-25. That date was continued by stipulation

     Stipulation and [Proposed] Permitting Plaintiff to File FAC                     Case No. 2:23-cv-00180-AC

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 1   and order until December 28, 2023 to permit Plaintiff to conduct discovery intended to assist him with
 2   identifying doe defendants. Dkt. Nos. 17, 19 & 21.
 3        4. Having conducted that discovery, and having learned that original defendant Stephanie M.
 4   Garcia’s name is now Stephanie M. Bachman, Plaintiff seeks to amend his complaint to substitute the
 5   true names of defendants previously identified as doe defendants, add factual allegations concerning
 6   those doe defendants, and to correct the name of original defendant Stephanie M. Garcia, now
 7   Bachman.
 8        5. A copy of the proposed First Amended Complaint is attached as Exhibit 1.
 9        6. Good cause exists for the amendment given that Plaintiff was ignorant of proposed defendants
10   Aaron Neisingh, Jose Naranjo, Anthony Posadas, and Scott Smyth until after he filed his original
11   complaint and conducted discovery. This amendment is not the product of undue delay, proposed in
12   bad faith, or futile. Instead, Plaintiff has discovered the information necessary to amend his complaint
13   to add the proposed defendants.
14        7. In entering into this stipulation, the Original Defendants do not waive any rights with regard to
15   their responsive pleading or a responsive pleading on behalf of the new defendants.
16        8. Filing and service of the First Amended Complaint, attached as Exhibit 1, on the Original
17   Defendants should be completed via the ECF system within three (3) days of the filing of an order on
18   this stipulation. The deadline to amend the complaint to add parties should be extended accordingly,
19   until three (3) days after the filing of an order on this stipulation. Plaintiff should submit Summonses
20   for new defendants Aaron Neisingh, Jose Naranjo, Anthony Posadas, and Scott Smyth within three (3)
21   days of the filing of an order of this stipulation. Plaintiff will serve the Summons and First Amended
22   Complaint upon new defendants Aaron Neisingh, Jose Naranjo, Anthony Posadas, and Scott Smyth.
23   All defendants will have twenty-one (21) days from the date of service to file their responsive
24   pleading, unless executed waiver of service dictates otherwise.
25           It is so stipulated.
26   //
27   //
28   //

     Stipulation and [Proposed] Permitting Plaintiff to File FAC                    Case No. 2:23-cv-00180-AC

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 1   Dated: December 27, 2023                                EMANUEL LAW GROUP
 2
 3                                                 By: /s/ Pamela E. Glazner
 4                                                          Pamela E. Glazner
                                                            Attorneys for Plaintiff JOHN DOE
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 6
     Dated: December 27, 2023                           HAWKINS PARNELL & YOUNG, LLP
 7
 8
                                                   By: /s/ Danielle K. Lewis (authorized on 12/27/2023)
 9                                                         Danielle K. Lewis
                                                           Attorneys for Defendants COUNTY OF
10                                                         SOLANO, ARMANDO ESPINOZA and
                                                           STEPHANIE BACHMAN (erroneously sued as
11                                                         STEPHANIE M. GARCIA)
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     Stipulation and [Proposed] Permitting Plaintiff to File FAC                  Case No. 2:23-cv-00180-AC

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 1                                              [PROPOSED] ORDER
 2           The Court, having reviewed the foregoing Stipulation, and good cause appearing therefor, here
 3   by orders as follows:
 4           1.      Filing and service of the First Amended Complaint, attached as Exhibit 1, on all
 5   existing parties shall completed via the ECF system within three (3) days of the filing of this order.
 6           2.      The deadline to amend the complaint to add parties is extended accordingly, until three
 7   (3) days after the filing of this order.
 8           3.      Plaintiff shall submit Summonses for defendants Aaron Neisingh, Jose Naranjo,
 9   Anthony Posadas, and Scott Smyth within three (3) days of the filing of this order. Plaintiff will serve
10   the Summons and First Amended Complaint upon new defendants Aaron Neisingh, Jose Naranjo,
11   Anthony Posadas, and Scott Smyth.
12           4.      All defendants will have twenty-one (21) days from the date of service of the First
13   Amended Complaint to file their responsive pleading, unless executed waiver of service dictates
14   otherwise.
15           IT IS SO ORDERED.
16   DATED: January 3, 2024
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     Stipulation and [Proposed] Permitting Plaintiff to File FAC                    Case No. 2:23-cv-00180-AC

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